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                                                                                   FILED
                                                                             February 22, 2021
                                                                            CLERK, U.S. DISTRICT COURT
                                                                            WESTERN DISTRICT OF TEXAS

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                                                                         BY: ________________________________
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                                PETITION TO THE COURT

January 22, 2021

U.S. District Judge Alan Albright
800 Franklin Avenue, Room 301
Waco, Texas 76701

RE: Case 6:21-cv-00043

Honorable Albright:

We would like to petition the court to allow us some time to obtain legal co-counsel certified in
Federal Court of the Western District of Texas. We have fired Paul Davis due to conflict of
interest, irreconcilable differences, and his inability to represent us with the utmost high standard
of ethics and professionalism. We have the utmost respect for your court and just ask that you
give us time to install a new attorney.


Respectfully

B.G.
Latinos for Trump President
